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                                                             United States District Court
                                                               Louisiana Middle District
                                                   Exhibits Log: 22cv00178-SDD-SDJ Bench Trial
                                                    Nairne et al v. Ardoin Bench Trial, I 1/27/2023



 E,XHIBIT       DESCRIPTIO~                                                                                                    RLS SEAL
  Pla-001       Expert Report of Dr Lisa Handley                                                                               No    No
 Pla-002        CV of Dr Lisa Handley                                                                                          No    No    j
 Pla-003        Appendix A I from Lisa Handley Repor                                                                           No    No
 Pla-004        Appendix A2 from Lisa Handley Report                                                                           No    No
 Pla-005        Appendix A3 from Lisa Handley Report                                                                           No    No
 Pla-006        Appendix A4 from Lisa Handley Report                                                                           No    No
 Pla-007        Appendix AS from Lisa Handley Report                                                                           No    No
 Pla-008        Appendix A6 from Lisa Handley Report                                                                           No    No
 Pla-009        Appendix A7 from Lisa Handley Report                                                                           No    No
 Pla--010       Appendix BI from Lisa Handley Report                                                                           No    No
 Pla-011        Appendix 82 from Lisa Handley Report                                                                           No    No
 Pla-016        Supplemental Rebuttal Report from Dr Lisa Handley                                                              No    No
 Pla-017        Appendix A from Dr Handley Supplemental Rebuttal Report                                                        No    No
 Pla-018        Appendix 8 from Dr Handley Supplemental Rebuttal Report                                                        No    No
 Pla--019       Appendix C from Dr Handley Supplemental Rebuttal Report                                                        No    No
 Pla--020       Corrected Report for William Cooper 9-29-2023                                                                  No    No
 Pla-021        Exhibit A Cooper CV to William Cooper Rep01t                                                                   No    No
 Pla-022        Exhibit 8 to William Cooper Report                                                                             No    No
 Pla-023        Exhibit 8-1 to William Cooper Report'                                                                          No    No
 Pla-024        Exhibit 8-2 to William Cooper Report                                                                           No    No
 Pla--025       Exhibit C-1 to William Cooper Report                                                                           No    No
 Pla--026       Exhibit C-2 to William Cooper Report                                                                           No    No
 Pla-027        Exhibit C-3 to William Cooper Report                                                                           No    No
 Pla--028       Exhibit D to William Cooper Report                                                                             No    No
 Pla--029       Exhibit E--1 to William Cooper Report                                                                          No    No
 Pla--030       Exhibit E--2 to William Cooper Report                                                                          No    No
 Pla--031       Exhibit F to William Cooper Report                                                                              No   No
 Pla-032        Exhibit G to William Cooper Report                                                                              No   No
 Pla-033        Exhibit H-1 Corrected to William Cooper Report                                                                  No    No
 Pla-034        Exhibit H-2 Corrected to William Cooper Report                                                                  No    No
 Pla--035       Exhibit H-3 Corrected to William Cooper Report                                                                  No    No
 Pla-036        Exhibit H-4 Corrected to William Cooper Report                                                                  No    No       ...
 Pla--037       Exhibit H-5 Corrected to William Cooper Report                                                                  No    No
 Pla-038        Exhibit H-6 Corrected to William Cooper Rc1>ort                                                                 No    No
j Pla-039       Exhibit H-7 Corrected to William Cooper Report                                                                  No    No
 Pla-04-0       Exhibit 1-1 Corrected to William Cooper Rep01t
                                                                                                                                No    No
 Pla-041        Exhibit 1-2 Corrected to William Cooper Report
                                                                                                                                No    No
 Pla-042        Exhibit 1-3 Corrected to William Cooper Report
                                                                                                                                No    No
 Pla-043        Exhibit 1-4 Corrected to William Cooper Report
                                                                                                                                No    No

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    EXHIBIT        DESCIUPTIO~                                                                                   RLS SEAL
                                                                                                                      No
:' Pla--044        Exhibit 1-5 Corrected to William Cooper Report                                                No

                                                                                                                 No

                                                                                                                           J
    Pla-045        Exhibit 1-6 Corrected to William Cooper Report

                   Exhibit I-7 Corrected to William Cooper Report                                                No   No
I Pla--046
    Pla-047        Exhibit J-1 to William Cooper Report                                                          No   No    j
                   Exhibit J-2 to William Cooper Report                                                          No   No
    Pla-048

                   Exhibit J-3 to William Cooper Report                                                          No   No
I Pla-049

    Pla--050       Exhibit J-4 to William Cooper Report                                                          No   No

    Pla--051       Exhibit J-5 to William Cooper Report

    Pla--052       Exhibit J-6 to William Cooper Report

    Pla--053       Exhibit J-7 to William Cooper Report
                                                                                                                 No   No
    Pla--054       Exhibit K-1 Corrected to William Cooper Re_port
                                                                                                                 No   No
    Pla--055       Exhibit K-2 to William Cooper Report
                                                                                                                 No   No
    Pla--056       Exhibit L-1 to William Cooper Report
                                                                                                                 No   No
    Pla--057       Exhibit L-2 Corrected to William Cooper Report

    Pla--058       Exhibit L-3 to William Cooper Report                                                          No   No

                                                                                                                 No   No
    Pla--059       Exhibit L-4 Corrected to William Cooper Report

    Pla--060       Exhibit M-1 to William Cooper Report                                                          No   No

    Pla-061        Exhibit M-2 to William Cooper Report                                                          No   No

    Pla-062        Exhibit M-3 to William Cooper Repo1t                                                          No   No

    Pla-063        Exhibit M-4 to William Cooper Report                                                          No   No

    Pla--064       Exhibit M-5 to William Cooper Report                                                          No   No

    Pla-065        Exhibit M-6 to William Cooper Report                                                          No   No

    Pla-066        Exhibit N-1 to Corrected William Cooper Report 9-29-2023                                      No   No

    Pla-067        Exhibit N-2 to William Cooper Report                                                          No   No

    Pla-068        Exhibit N-3 to William Cooper Report                                                          No   No

    Pla-069        Exhibit N-4 to William Cooper Report                                                          No   No

    Pla-070        ExhibitN-5 to William Cooper Report                                                           No   No

    Pla-071        Exhibit N-6 to William Cooper Report                                                          No   No

    Pla--072       Exhibit N-7 to William Cooper Report                                                          No   No

i Pla-073          Exhibit 0-1 Corrected William Cooper Report                                                   No   No

    Pla-074        Exhibit 0-2 to WiJliam Cooper Report                                                          No   No

    Pla-075        Exhibit P-1 to William Cooper Report                                                          No   No

    Pla-076        Exhibit P-2 Corrected to William Cooper Repo1t                                                No   No

    Pla--077       Exhibit P-3 to William Cooper Report                                                          No   No

    Pla-078        Exhibit P-4 Corrected to William Cooper Report                                                No   No

I Pla--079         Exhibit Q-1 to William Cooper Rep01t                                                          No   No

    Pla-080        Exhibit Q-2 to William Cooper Report                                                          No   No

I
    Pla-081        Exh.ibit Q-3 to William Cooper Repo1t                                                         No   No   j
    Pla--082       ExhibitQ-4 to William Cooper Repott                                                           No   No

    Pla--083

    Pla--084
                   Exhibit Q-5 to William Cooper Report

                   Exhibit Q-6 to William Cooper Report
                                                                                                                 No

                                                                                                                 No
                                                                                                                      No

                                                                                                                      No
                                                                                                                           I
i Pla-085          Exhibit Q-7 to William Cooper Report                                                          No   No
                                                                                                                            I
    Pla--086       Exhibit Q-8 to William Cooper Report                                                          No   No

I   Pla-087        Exhibit Q-9 to Corrected William Cooper Report 9-29-2023                                      No   No

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                                                                                                                    l{LS SEAL
      E.XHIBIT        DESCRIPTIO:\'
                                                                                                                    No   No
      Pla-088          Exhibit Q-10 to Corrected William Cooper Report 9-29-2023
      Pla-089                                                                                                       No   No
                       William Cooper Rebuttal Report

      Pla-090                                                                                                       No   No
                       Exhibit B-1 to Cooper Rebuttal Report

      Pla-091                                                                                                       No   No
                      Exhibit B-2 to Cooper Rebuttal Report
                                                                                                                    No   No
      Pla-092         Exhibit B-3 to Cooper Rebuttal Report

      Pla-093                                                                                                       No   No
                      Exhibit C-1 to Cooper Rebuttal Report

      Pla-094                                                                                                       No   No
                      Exhibit C-2 to Cooper Rebuttal Report
                                                                                                                    No   No
      Pla-095         Exhibit D-1 to Cooper Rebuttal Report
                                                                                                                    No   No
     Pla-096          Exhibit D-2 to Cooper Rebuttal Report
                                                                                                                    No   No
      Pla-097         Exhibit D-3 to Cooper Rebuttal Report
                                                                                                                    No   No
     Pla-098          Exhibit D-4 to Cooper Rebuttal Report
                                                                                                                    No   No
     Pla-100           Exhibit E-2 to Cooper Rebuttal Report
                                                                                                                    No   No
     Pla-101          Exhibit E-3 to Cooper Rebuttal Report
                                                                                                                    No   No
     Pla-102           Exhibit E-4 to Cooper Rebuttal Report
                                                                                                                    No   No
     Pla-103          Exhibit F-1 to Cooper Rebuttal Report
                                                                                                                    No   No
     Pla-104           Exhibit F-2 to Cooper Rebuttal Report
                                                                                                                    No   No
     Pla-105          Exhibit F-3 to Cooper Reubttal Report
                                                                                                                    No   No
     Pla-106          Exhibit F-4 to Cooper Rebuttal Report
                                                                                                                    No   No
     Pla-107          Exhibit G-1 to Cooper Rebuttal Report
                                                                                                                    No   No
     Pla-108          Exhibit G-2 to Cooper Rebuttal Report
                                                                                                                    No   No
     Pla-109          Exhibit G-3 to Cooper Rebuttal Report
                                                                                                                    No   No
     Pla-110          Exhibit H-1 to Cooper Rebuttal Report
                                                                                                                    No   No
     Pia-I I I        Exhibit H-2 to Cooper Rebuttal Report
                                                                                                                    No   No
     Pla-112          Exhibit H-3 to Cooper Rebuttal Report
                                                                                                                    No   No
     Pla-113          Exhibit H-4 to Cooper Rebuttal Report
                                                                                                                    No   No
     Pla-114          Exhibit H-5 to Cooper Rebuttal Report
                                                                                                                    No   No
     Pla-115          Exhibit H-6 to Cooper Rebuttal Report
                                                                                                                    No   No
     Pla-116          Illustrative Senate 2023 expanded (replacement)
                                                                                                                    No   No
     Pia-JI?          Jllustrative House 2023 expanded (replacement)
                                                                                                                    No   No
     Pla-124          Expert Report of Dr Blakeslee Gilpin
                                                                                                                    No   No
     Pla-125          CV of Dr Gilpin
                                                                                                                    No   No
     Pla-126          Expert Report of Dr Traci Burch
                                                                                                                    No   No
     Pla-127          CV of Dr Burch
                                                                                                                    No   No
     Pla-128          Supplemental Report of Dr Traci Burch
                                                                                                                    No
     Pla-129          Expert Report of Dr Craig E Colten                                                                 No1
                                                                                                                    No   No
     Pla-130          CV of Craig E Colten

     Pla-131

     Pla-132
                      Corrected Supplemen tal Report of Craig E Colten

                      Rebuttal Report of Craig E Colten
                                                                                                                    No

                                                                                                                    No

                                                                                                                    No
                                                                                                                         No

                                                                                                                         No

                                                                                                                         No
                                                                                                                                l
1    Pla-163-a        2015-2019 ACS Socioeconomic Oharts for Parishes Pages 00Gl-2050
                                                                                                                    No   No
    ' Pla-163-b       20I5-2019 ACS Socioeconomic Charts for Parishes Pages 2051-end
                                                                                                                    No   No
     Pla-184          BVM-LA-Leg 0000573-000059 J
                                                                                                                    No   No
     Pla-185          BVM-LA-LegOOOI 127-0001178
                                                                                                                    No   No
     Pla-186          BVM-LA-L eg 00005 J8Redacted (replacement)
                                                                                                                    No   No
     Pla-187          BVM-LA-Leg 0000519-0000520

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 EXHIBIT           DE.."CIUPTIO'.'i                                                                                                    l{LS S£.\L
  Pla-188                                                                                                                              No   No
                   BVM-LA-Leg 0002982-0002984Redacted (replacement)
  Pla-191                                                                                                                              No   No
                   BVM-LA-Leg 0002 I96-0002 I97Redacted (replacement)
  Pla-192          BVM-LA-Leg 000269 l-0002692Redacted (replacement)                                                                   No   No
                                                                                                                                                  -j
  Pla-193          BVM-LA-Leg 0002669-0002670Redacted (replacement)                                                                    No   No      I



  Pla-194          BVM-LA-Leg 0001116-000l 119Redacted (replacement)                                                                   No   No
  Pla-195          BVM-LA-Leg 0005266-0005267Redacted (replacement)                                                                    No   No
  Pla-196          BVM-LA-Lcg 0000990-000I002Redacted (replacement)                                                                    No   No
  Pla-199          BVM-LA-Leg 0001020-0001022Rcdacted (replacement)                                                                    No   No

  Pla-200          BVM-LA-Leg 0003722-0003 729Rcdacted (replacement)                                                                   No   No

  Pla-201          VM-LA-Leg 0005349-0005352                                                                                           No   No

  Pla-203          BVM-LA-Leg 0000014-00000 l 5Redacted (replacement)                                                                  No   No

  Pla-204          BVM-LA-Leg 0005694                                                                                                  No   No

  Pla-205          BVM-LA-Leg 0000488Redacted (replacement)                                                                            No   No

  Pla-206          BVM-LA-Leg 0000474Redacted (replacement)                                                                            No   No

  Pla-207          BVM-LA-Leg 0000383-0000384Redacted (replacement)                                                                    No   No

  Pla-208          BVM-LA-Leg 0003053 0005833-36 0005840Redacted (replacement)                                                         No   No


-Pla-249

  Pla-249-a

  Pla-250
                   SOS Voter Portal - Member! Redacted

                   SEALED - SOS Voter Portal - Unrcdacted

                   SOS Voter Portal - Member2Redacted
                                                                                                                                       No

                                                                                                                                       No

                                                                                                                                       No
                                                                                                                                            No

                                                                                                                                            Yes

                                                                                                                                            No

  Pla-250-a        SEALED - SOS Voter Portal - Unredacted                                                                              No   Yes

 Pla-251           SOS Voter Portal - Member3Redacted                                                                                  No   No

 Pla-251-a         SEALED - SOS Voter Portal - Unredacted                                                                              No   Yes

 Pla-252           SOS Voter Portal - Member4Redacted                                                                                  No   No

 Pla-252-a         SEALED - SOS Voter Portal - Unrcdacted                                                                              No   Yes

 Pla-253          SOS Voter Portal - Member5Redacted                                                                                   No   No

 Pla-253-a        SEALED - SOS Voter Portal - Unredacted                                                                               No   Yes

 Pla-254          SOS Voter Portal - Mcmber6Rcdactcd                                                                                   No   No

 Pla-254-a        SEALED - SOS Voter Portal - Unrcdactcd                                                                               No   Yes

 Pla-255          SOS Voter Portal - Membcr7Redacted                                                                                   No   No

 Pla-255-a        SEALED - SOS Voter Portal - Unredacted                                                                               No   Yes

 Pla-256          SOS Voter Portal- Member8Redacted                                                                                    No   No

 Pla-256-a        SEALED - SOS Voter Portal - Unredacted                                                                               No   No

 Joint-001        JX 001 - NAACP-LA-Leg000053J-062                                                                                     No   No

I Joint-002       JX 002 - NAACP-LA-Leg0000628-07 l 5                                                                                  No   No

 Joint-003        JX 003 - NAACP-LA-Leg00007 l 6-0822                                                                                  No   No

 Joint-004        JX 004- NAACP-LA-Lcg0000913-1022                                                                                     No   No

 Joint-005        JX 005 - NAACP-LA-LcgOOO I023-1096                                                                                   No   No

 Joint-006        JX 006 - NAACP-LA-LcgOOO 1151-1285                                                                                   No   No

 Joint-007        JX 007 - NAACP-LA-Lcg0001286-l342                                                                                    No   No

 Joint-008        JX 008 - NAACP-LA-LcgOO0l 343-1502                                                                                   No   No

 Joint-009        JX 009 - NAACP-LA-Lcg0000823-09 l 2                                                                                  No   No

 Joint-010        JX 0I0-NAACP-LA-Lcgl097-l 150                                                                                        No   No

 Joint-011        JX 01 I - Special Session HOA Committee Transcript dated February 7 2022 - NAACP-LA-LegOO0 1938-2124                 No   No

 Joint-012        JX 012 - Special Session HOA Committee Transcript dated February 8 2022 - NAACP-LA-Lcg0002125-2265                   No   No

                                                                         -4-
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E.'illlBIT           l>ESCRIPTIO'.'/                                                                                                     RLS SEAL
Joint-013
                     IX O13 - Special Session HGA Committee Transcript dated February 9 2022 - NAACP-LA-Leg0002266-2357                  No    No
Joint-014
                     JX O14 - Special Session HGA Committee Transcript dated February IO 2022 - NAACP-LA-Leg0002358-257                  No    No
Joint-015            IX O15 - Special Session HGA Conmtlttee Transcript dated February 11 2022 - NAACP-LA-Leg0002572-266                 No    No
Joint-016            JX 016- Special Session HGA Committee Transcript dated February 14 2022- NAACP-LA-Leg0002669-272                    No    No
Joint-017
                     JX 017 amended 1027 - Special Session HGA Committee Transcript dated February 15 2022 LDTX56                        No    No
Joint-018
                     JX O18 - Special Session HGA Committee Transcript dated February 16 2022 - NAACP-LA-Leg0002730-29 I                 No    No
Joint-019            JX O19 - Special Session House Full Floor Debate Transcript dated February I 4 2022 - NAACP-LA-Leg                  No    No
Joint-020            JX 020 - Special Session House Full Floor Debate Transcript dated February 15 2022 - NAACP-LA-Leg                   No    No
                                                                                                                                                    1
                                                                                                                                                    I
Joint-021            JX 021 amended 1027 - Special Session SGA Committee Transcript - 222022 LDTX I I                                          No
                                                                                                                                         No
Joint-022            JX 022 - Special Session SGA Committee Transcript - 232022 - NAACP-LA-Leg0002969-2985                               No    No
Joint-023            JX 023 - Special Session SGA Committee Transcript - 242022 - NAACP-LA-Leg0002986-30J 9                              No    No
Joint-024            JX 024 - Special Session Senate Full Floor Debate Transcript - 282022 - NAACP-LA-Leg0003086-3 l 38                  No    No
Joint-025            IX 025 - amended 1027 - Special Session SGA Committee Transcript - 282022 LDTX57                                    No    No
Joint-026            JX 026- LDTX13                                                                                                      No    No
Joint-027            IX 027 - LDTXl 9                                                                                                    No    No
Joint-028            JX 028 - LDTX22                                                                                                     No    No
Joint-029            IX 029 - LDTX24                                                                                                     No    No
Joint-030            JX 030 - LDTX26                                                                                                     No    No
Jomt-031                                                                                                                                 No    No
Joint-032            JX 032 - LDTX30                                                                                                     No    No
Joint-033            IX 033 - LDTX3 l                                                                                                    No    No
Joint-034            JX 034 - LDTX32                                                                                                     No    No
JQint-035            JX 035- HB 14 - final                                                                                               No    No
Joint-036            JX 036 - SB 1 - final                                                                                               No    No
Joint-037            JX 037 - SB 17 - Original Bill Text                                                                                 No    No
Joint-038            JX 038 - SB 17 - Block Equivalency File (replacement)                                                               No    No
Joint-039            IX 039 - HB 14 -Amendment 62 Glover                                                                                 No    No
Joint-040            JX 040-HB 14-Amendmcnt 90 Glover                                                                                    No    No
Joint-041            IX 041 - HB 14-Amendment 113 Glover                                                                                 No    No
Joint-042            JX 042 - HB 21 - Original Bill Text                                                                                 No    No
Joint-043            IX 043 - HB 21 - Block Equivalency File Original Bill (replacement)                                                 No    No
Joint-044            JX 044-HB 21 -Amendment 91 Glover
                                                                                                                                         No    No
Joint-045            IX 045 - HB 23 - Original Bill Text                                                                                 No    No
Joint-046            IX 046 - HB 23 - Block Equivalency File (replacement)                                                               No    No
Joint-047    -       JX 047 - HB 24- Original Bill Text
                                                                                                                                         No    No
Joint-048

Joint-049
                     JX 048 - HB 24 - Block Equivalency File Original Bill (replacement)

                     JX 049 - SB I - Amendment I 55 Glover
                                                                                                                                         No    No   1
                                                                                                                                         No    No
Joint--050           JX 050 - LDTX35
                                                                                                                                         No    No
Joint-OSI            JX 051 - LDTX36
                                                                                                                                         No    No
Joint-052            JX 052 - LDTX37
                                                                                                                                         No    No
Joint-053            IX 053 - LDTX55
                                                                                                                                          No   No
Joint--054           JX 054 (replacement)
                                                                                                                                          No   No
Joint-055            JX055-HB 16
                                                                                                                                         No    No
Joint-056            JX 056 - Joint Rule 21
                                                                                                                                          No   No

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